107 F.3d 868
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.George HARRIS, a/k/a "George", a/k/a Mr. G, a/k/a "G",Defendant-Appellant.
    No. 96-6881.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 13, 1997.Decided Feb. 26, 1997.
    
      George Harris, Appellant Pro Se.
      Charles Dee Griffith, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Norfolk, VA, for Appellee.
      Before WIDENER and HAMILTON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's orders denying his motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.*  United States v. Harris, Nos.  CR-88-76-N;  CA-95-789-N (E.D. Va.  Feb. 8, 1995;  May 14, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We note that subsequent to the district court's order in this case, the Supreme Court has held that criminal prosecutions which follow civil forfeitures are not barred by the Double Jeopardy Clause.  See United States v. Ussery, --- U.S. ---, 64 U.S.L.W. 4565, 4572 (U.S. June 24, 1996) (Nos.95-345/346)
      
    
    